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                                     Kansas Federal Public Defender
                                                           www .ks.fd.org

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                                                                                                                    Paige A. Nichols


                                                        January 8, 2018

       Delivered via email
       l\1r. Steven Clymer
       Assistant U.S. Attorney
       Northern District of New York
       steven. d.clymer@usdoj.gov

            Re:      Touhy request for United States v. Lorenzo Black, et. al.,
                     16-cr-20032-JAR (D. Kan.)

       Dear l\1r. Clymer:

          This letter serves as a Touhy request, pursuant to 28 C.F.R. §§ 16.21(a) and (b),
       requesting persons listed herein, employed or formerly employed by the United
       States l\1arshals Service (US1\1S), to appear and testify at the evidentiary hearing
       on January 18, 2018, or as required thereafter until completion of their testimony.

           As you know, the Court set the hearing to discuss the Special l\1aster' s findings
       concerning the government's failure to comply with the Phase III investigation and
       other matters raised concerning the Phase III investigation. The Phase III
       investigation was ordered specifically to investigate the conduct of the government.
       It is in this context that the witness is requested to appear and testify.

           Each person listed herein is an "employee" or former employee of the
       Department of Justice, and the US1\1S in particular, as defined under 28 C.F.R. §
       16.21(b) and USAl\1 § 1-611. As the Department of Justice attorney in charge of this
       case, the request is submitted to you under 28 C.F.R. § 16.23(a). A summary of the
       testimony sought from each witness is also provided, as required under 28 C.F.R. §
       16.23(c), as follows:




            Kansas City Division                            Topeka Division                           Wichita Division
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             1. Patricia Cook - Kansas City, Kansas

            Ms. Cook is a Contract Oversight Specialist for the USMS. She has personal
         knowledge and can testify about the following topics:

             (1) To authenticate and testify about the contractual provisions between the
         USMS and CCA-Leavenworth concerning the monitoring, recording, and producing
         of communications between inmates and their attorneys;

            (2) The policy and procedures utilized by the USMS to request inmate
         information from CCA-Leavenworth in 2016;

             (3) Her knowledge of times wherein an Assistant U.S. Attorney, or agents on his
         or her behalf, made a direct request for recordings of inmate phone calls or other
         inmate information; and

            (4) Authentication of communications between herself, CCA-Leavenworth
         employees, and the USAO regarding inmate information requested as part of this
         and other investigations.

             Conclusion

             This information meets all the criteria for disclosures under 28 C.F.R. § 16.26(a).
         It is appropriate under the rules of procedure governing this case - the Federal
         Rules of Criminal Procedure - as the testimony and documents are material to
         preparing a defense under Rule 16(a)(l)(E). There is not any statutory privilege
         that applies.

            None of the criteria for non-disclosure delineated under§ 16.26(b) applies here.
         The disclosure would not violate a statute or specific regulation. The information
         sought is not classified, nor would it reveal any confidential source. Finally, the
         records sought are not law-enforcement records or trade secrets.

            We request that Ms. Cook appear in person to provide testimony. A motion for
         subpoenas is being filed contemporaneously with the issuance of this letter.


                                                 Sincerely,


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                                                 Federal Public Defender

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